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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )
                                              )       Criminal No. 1:18-mj-00146-RMM-1
VINCENT GALARZA                               )
                                              )
               Defendant                      )

                           DEFENDANT’S CONSENT MOTION
                         TO CONTINUE PRELIMINARY HEARING

       Defendant Vincent Galarza, by and through undersigned counsel, hereby moves to

continue the Preliminary Hearing in the above-captioned matter currently scheduled for January

7, 2022, to February 21, 2022, or to an alternate date after that date convenient to the Court’s

calendar and the parties. In support of this motion, counsel states the following:

       1)      The parties are engaged in plea negotiations that are anticipated to be completed

in the near future, but the negotiations have been slowed down due to the current health

emergency.

       2)      AUSA Lindsay Suttenberg consents to Mr. Galarza’s motion.

       3)      Mr. Galarza, who is currently incarcerated, has been advised of his rights under

the Speedy Trial Act and understands that due to the current health emergency that the speedy

trial clock will be tolled for the period between January 7, 2022, and the date of his next hearing.

       Wherefore, Vincent Galarza respectfully requests that the Court continue the Preliminary

Hearing in this matter to February 21, 2022, or to a date after that date convenient to the Court’s

calendar and to the parties.




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                                                  Respectfully submitted,



                                                  __________/s/_________________
                                                  David Benowitz
                                                  DC Bar # 451557
                                                  Counsel for Vincent Galarza
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                                                  Washington, DC 20001
                                                  (202) 271-5249
                                                  david@pricebenowitz.com



                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 5th day of January 2022, I caused a true and correct
copy of the foregoing Defendant’s Consent Motion to Continue Preliminary Hearing to be
delivered via CM/ECF to Assistant United States Attorney Lindsay Suttenberg, United States
Attorney’s Office, 555 Fourth Street, N.W., Washington, D.C. 20530.



                                                  __________/s/_________________
                                                  David Benowitz




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